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11    Interim Co-Lead Class Counsel
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13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14                                   SAN JOSE DIVISION
15
      IN RE: APPLE INC. DEVICE                Case No. 5:18-md-02827-EJD
16    PERFORMANCE LITIGATION
                                              CONSOLIDATED CLASS ACTION
17
                                              PLAINTIFFS’ NOTICE CONCERNING
18    This Document Relates To:               AMENDING COMPLAINT
19           ALL ACTIONS.                     Judge:      Hon. Edward J. Davila
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     PLS’ NOTICE RE AMENDING COMPLAINT                                NO. 5:18-MD-02827-EJD
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 1           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2           PLEASE TAKE NOTICE that Plaintiffs, having until June 12, 2019 to file an amended

 3   complaint [Dkt. 339] and after duly considering the Court’s April 22, 2019 Order Granting

 4   Motion for Reconsideration; Granting in Part and Denying in Part Motion to Dismiss [Dkt. 315],

 5   elect to stand on their Second Consolidated Amended Complaint (“SAC”), refiled April 24, 2019

 6   [Dkt. 318] and will not file a further complaint at this time. Plaintiffs reserve all of their rights

 7   under the Federal Rules of Civil Procedure and Civil Local Rules of this Court with respect to any

 8   future amendments to the SAC.

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10                                             Respectfully submitted,
11                                             COTCHETT, PITRE & MCCARTHY, LLP
12    DATED: June 12, 2019                     By: /s/ Mark C. Molumphy
                                               Joseph W. Cotchett (SBN 36324)
13                                             Mark C. Molumphy (SBN 168009)
                                               Brian Danitz (SBN 247403)
14                                             Gina Stassi (SBN 261263)
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21                                             KAPLAN FOX & KILSHEIMER LLP
22    DATED: June 12, 2019                     By: /s/ Laurence D. King
                                               Laurence D. King (SBN 206423)
23                                             Mario M. Choi (SBN 243409)
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                                                        -1-                       Case No. 5:18-md-02827-EJD
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      Case 5:18-md-02827-EJD Document 347 Filed 06/12/19 Page 3 of 3



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 6                                           dstraite@kaplanfox.com

 7                                           Interim Co-Lead Class Counsel

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10                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

11          I, Mario M. Choi, attest that concurrence in the filing of this document has been obtained

12   from the other signatories. I declare under penalty of perjury under the laws of the United States

13   of America that the foregoing is true and correct.

14          Executed this 12th day of June, 2019, at San Francisco, California.

15
                                                                 s/ Mario M. Choi
16                                                               Mario M. Choi

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                                                     -2-                     Case No. 5:18-md-02827-EJD
                                    PLS’ NOTICE RE AMENDING COMPLAINT
